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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,
                                                                Case Number: 18-CR-20506
v.
                                                                Honorable Thomas L. Ludington
RANDY LEWIS KIRKPATRICK,                                        Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/

          ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
          DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                      AGREEMENT UNDER ADVISEMENT

          On August 24, 2018, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant Randy Lewis Kirkpatrick’s consent. The magistrate judge issued

her report that same day, recommending that this Court accept Defendant’s plea of guilty. ECF

No. 17.

          Although the magistrate judge’s report explicitly stated that the parties to this action could

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The failure to file objections waives any right

to appeal the magistrate judge’s findings that Defendant was competent to enter a plea, and that

the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact. See Fed.

R. Crim. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

          Accordingly, it is ORDERED that the magistrate judge’s Report and Recommendation,

ECF No. 17, is ADOPTED.
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      It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 16, is taken UNDER ADVISEMENT.


Dated: September 10, 2018                                                   s/Thomas L. Ludington
                                                                            THOMAS L. LUDINGTON
                                                                            United States District Judge




                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on September 10, 2018.

                                                        s/Kelly Winslow
                                                        KELLY WINSLOW, Case Manager
